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 5   ATTORNEY FOR DEFENDANT
     FABIAN LEONTE
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                       EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,              )        NO. 2:08-cr-00468 KJM
10                                          )
           PLAINTIFF,                       )        STIPULATION AND ORDER
11                                          )
           v.                               )
12                                          )        Hearing Date: December   15, 2011
     FABIAN LEONTE, et al.,                 )        Courtroom: 3, 15th Floor
13                                          )        Judge: Honorable District Court Judge
                                            )        Kimberly J. Mueller
14        DEFENDANTS.                       )
     ______________________________)
15
16                             PARTIES TO THE LITIGATION
17
18         The parties to this litigation, the Unites States of America, represented by
19   Assistant United States Attorney, Ms. Dominique Thomas , and the defendants
20   (hereinafter referred to as the defendants): 1) Maria Santa, represented by her attorney,
21   Ms. Krista Hart; 2) Virgil Santa, represented by his attorney, Mr. John Balazs; 3)
22   Candit Sava, Jr., represented by his attorney, Mr. Jeffrey Staniels; and   4) Fabian
23   Leonte, represented by his attorney, Mr. James R. Greiner, hereby agree and stipulate
24   to the following:
25         The parties hereby stipulate and agree that the current motions briefing schedule
26   be modified as follows:
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 1         Defense Motions to be filed on or before                     October 27, 2011
 2         Government’s oppositions to be filed on or before            December 1, 2011
 3         Defense Reply to government’s oppositions on or before December 15, 2011
 4         Court Hearing                                                January 5, 2012
 5
 6                TIME EXCLUDED UNDER THE SPEEDY TRIAL ACT
 7         The parties to this Stipulation agree and stipulate that the ends of justice served
 8   by granting this continuance outweigh the public’s right and all of the defendants’
 9   right to a speedy trial in this case. That finding is supported by the factual bases and
10   findings which are: 1- this is a multi-defendant case; 2-the allegations are complex,
11   both legally and factually, as stated in the superceding Indictment which include: Nine
12   (9) counts of mail fraud; Four (4) counts of false statements on loan applications:
13   Identity Theft; Aggravated Identity Theft Identity Theft, and Five (5) counts of
14   Engaging in Monetary transactions over $10,000 in property derived from specified
15   unlawful activity; 3- a co-defendant has pled guilty, with a co-operation agreement
16   with the government, requiring additional defense investigation; 4- filing of defense
17   motions and; 5- the legal issues in this case are complex.
18         The parties agree and stipulate that with all parties exercising reasonable
19   diligence the need for this continuance will allow both continuity of counsel and
20   defense counsel adequate time to prepare and to investigate and allow adequate time
21   for defense counsel to file motions within the meaning of Title 18 U.S.C. section
22   3161(h)(7)(B)(iv) and Local code T-4, and all the parties agree to and stipulate to the
23   exclusion of time under the Speedy Trial Act from the date of this order to and
24   including December 15, 2011, the date set for a hearing. In addition, the parties agree
25   and stipulate that upon the filing of any motion, the speedy trial act stops pursuant to
26   Title 18 U.S.C. section 3161(h)(1)(D) and Local Code E, to and including the hearing
27   date of Thursday, January 5, 2012.
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 1        Respectfully submitted:
 2                                  BENJAMIN B. WAGNER
                                    UNITED STATES ATTORNEY
 3
                                    /s/ Dominique Thomas, by e mail authorization
 4
     DATED: 10-3-11                 _____________________________________
 5                                  Dominique Thomas
                                    ASSISTANT UNITED STATES ATTORNEY
 6                                  ATTORNEY FOR THE PLAINTIFF
 7   DATED: 10-3-11
                                    /s/ Krista Hart, by e mail authorization
 8                                  ______________________________________
                                    Krista Hart
 9                                  Attorney for Defendant
                                    Maria Santa
10
     DATED: 10-3-11                 /s/ John Balazs, by e mail authorization
11                                  _______________________________________
                                    John Balazs
12                                  Attorney for Defendant
                                    Virgil Santa
13
     DATED: 10-3-11                 /s/ Jeffrey Staniels, by e mail authorization
14                                  _____________________________________
                                    Jeffrey Staniels
15                                  Attorney for Defendant
                                    Candit Sava, Jr.
16
     DATED: 10-3-11                 /s/ James R. Greiner
17                                  ___________________________________
                                    James R. Greiner
18                                  Attorney for Defendant
                                    Fabian Leonte
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 1                                             ORDER
 2          The Court, having received, read, and considered the agreement and stipulation
 3   of the parties, having reviewed the record in this case and having reviewed the
 4   Docket in this case makes the following findings and Order:
 5          This Court finds that, in this case, the ends of justice are served by granting this
 6   continuance and outweigh the best interests of the public and all the defendants in a
 7   speedy trial in this case.
 8          This Court makes the following specific findings in this case which supports
 9   the finding to grant this continuance:
10                 1- this is a multi-defendant case;
11                 2- the allegations are complex, both legally and factually as stated in the
12                 superceding Indictment which include: Nine (9) counts of mail fraud;
13                 Four (4) counts of false statements on loan applications; Identity Theft;
14                 Aggravated Identity Theft; and Five (5) counts of Engaging in Monetary
15                 transactions over $10,000 in property derived from specified unlawful
16                 activity;
17                 3- a co-defendant has pled guilty, with a co-operation agreement with the
18                 government, requiring additional defense investigation;
19                 4- filing of defense motions; and
20                 5- the legal issues in this case are complex.
21          The Court specifically finds that even in the exercise of reasonable diligence by
22   all parties that, in this case, it is unreasonable to expect the case to go to trial within
23   the time limits of the Speedy Trial Act, and that pursuant to Title 18 U.S.C. section
24   3161(h)(1)(7)(A) this Court finds that the ends of justice are served by granting this
25   continuance taking into consideration that all parties, in exercising reasonable
26   diligence in the preparation of this case, the need for this continuance will allow both
27   continuity of counsel and defense counsel adequate time to prepare and investigate
28                                                 4
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 1   and allow adequate time for defense counsel to file motions within the meaning of
 2   Title 18 U.S.C. section 3161(h)(7)(B)(iv) and Local code T-4.
 3         Further, this Court finds that the time from the date this Order is signed to and
 4   including Thursday, January 12, 2012, shall be excluded under the Speedy Trial Act
 5   for all of the reasons stated herein, and stated by the parties agreement and
 6   Stipulation. Further, the Court finds that upon the filing of any motion in this case the
 7   Speedy Trial Act stops pursuant to Title 18 U.S.C. section 3161(h)(1)(D) and Local
 8   Code E to and including the hearing date of Thursday, January 12, 2012.
 9         This Court adopts the agreement and Stipulation of the parties and the
10   following briefing schedule:
11         Defense Motions to be filed on or before                    October 27, 2011
12         Government’s oppositions to be filed on or before           December 1, 2011
13         Defense Reply to government’s oppositions on or before December 15, 2011
14         Court Hearing                                               January 12, 2012 at
15                                                                     10:00 AM
16         FOR ALL THE REASONS STATED HEREIN, THE COURT FINDS GOOD
17   CAUSE AND GRANTS THE REQUEST OF THE PARTIES,
18         IT IS SO ORDERED.
19   DATED: October 11, 2011.
20
                                                      UNITED STATES DISTRICT JUDGE
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